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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Wyonia Cox,

                                   Plaintiff(s),
v.                                                    Case No. 2:20−cv−10260−GAD−DRG
                                                      Hon. Gershwin A. Drain
Action Financial Services, LLC,

                                   Defendant(s),



                  NOTICE OF MOTION HEARING BY VIDEO CONFERENCE

   PLEASE TAKE NOTICE that a video conference has been scheduled before Judge District
Judge Gershwin A. Drain for the following motion(s):

                 Motion for Withdrawal of Attorney − #25



       • MOTION HEARING: April 28, 2021 at 10:00 AM

     The Court will host the conference. The conference information is listed below.

  ZOOM https://www.zoomgov.com/j/1618660574?pwd=aW5ONVdFS3ArdWFINDFFVDBubUVyZz09
WEBINAR: Passcode: 776412 Or iPhone one−tap : US: +16692545252,,1618660574# or
         +16468287666,,1618660574#


  Attorneys must review and comply with the attached Zoom Video Conference Policies and
Guidelines.

    The public may request access to in−court proceedings by visiting the Court's website:
http://www.mied.uscourts.gov

                                               By: s/T McGovern
                                                   Case Manager

Dated: April 1, 2021
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                 ZOOM VIDEO CONFERENCE POLICIES AND GUIDELINES

General Court Policies:
     • All in−court proceedings will be considered the same as if held in the courtroom and an official record
       will be made. Appropriate attire is required.
     • The judge has authority over the proceeding and participants as if they were physically present in
       chambers or the courtroom.
     • The judge may terminate the proceeding if the video conference experience is not acceptable.
     • Appropriate conduct is required. Be courteous and patient.
     • For in−chambers conferences, an official record will not be made, unless the judge determines one is
       necessary. Connection information may not be forwarded, distributed or shared with non−parties without
       the Court’s advance approval.
     • Broadcasting, recording or photographing, including "screenshots" or other visual copying of a
       proceeding, is strictly prohibited.

Technical Responsibilities:
     • The court will not provide technical assistance for testing or troubleshooting equipment or connections,
       nor provide time during the proceeding to troubleshoot issues.
     • Participants should take time prior to the proceeding to become familiar with Zoom. Directions, tutorials
       and support can be found at https://zoom.us. Devices and connections can be tested at
       https://zoom.us/test.
     • Participants should use a good LAN, WiFi, or substantial LTE connection to ensure a quality connection.

Connecting to the Proceeding:
     • If a connection link has been provided, click the link to join (or copy and paste the link into a web
       browser). If prompted, download or launch Zoom and join with video and audio.
     • Alternatively, visit https://zoom.us/join from a computer and enter the Meeting or Webinar ID. If
       prompted, download or launch Zoom and join with video and audio.
     • For Apple/Android tablets and phones, install the Zoom App from the Apple or Android Store prior to the
       proceeding. Launch the Zoom App and join using the Meeting or Webinar ID.

Best Practices:
     • Use your full name in the display of the video window.
     • Mute sound when not speaking to eliminate background noise.
     • Unmute only when necessary to speak. Press the space bar to temporarily unmute.
     • Avoid rustling papers and other extraneous noises.
     • Speak one at a time.
     • Spell proper names.
     • Position the camera at eye level or slightly above eye level.
     • Remember to look directly at the camera, not at the screen.
     • Be mindful of what is behind you. Choose a solid neutral wall, if possible.
     • Have proper lighting, ideally where light is directly on your face.
